Case 1:25-cv-00128-JJM-AEM             Document 64      Filed 05/20/25      Page 1 of 5 PageID #:
                                             1531



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


 STATE OF RHODE ISLAND, et al.,

                         Plaintiffs,

        v.
                                                        No. 25-cv-00128
 DONALD J. TRUMP, in his official
 capacity as President of the United States,
 et al.,

                         Defendants.


                               DEFENDANTS’ STATUS REPORT

       Pursuant to the Court’s May 13, 2025 Order, Defendants provide the following

information regarding their implementation of the Court’s Preliminary Injunction Order. See

ECF No. 60.

   1. The Agency Defendants have been working diligently to implement all provisions of the

Court’s Preliminary Injunction Order.

   2. As to personnel, the Agency Defendants are restoring “employees and personal service

contractors, who were involuntarily placed on leave or involuntarily terminated due to the

implementation of Executive Order.” ECF No. 60 ¶ 4.

       a. IMLS employees who were involuntarily terminated or placed on administrative

             leave as a result of the Executive Order have been notified of the Court’s Preliminary

             Injunction Order and of IMLS’s resulting suspension of its reduction-in-force (RIF)

             efforts. To ensure an orderly return to work, IMLS implemented a staggered return

             beginning May 20th, with all non-remote employees who were involuntarily

             terminated or placed on administrative leave expected to be back in the office by May
Case 1:25-cv-00128-JJM-AEM         Document 64        Filed 05/20/25      Page 2 of 5 PageID #:
                                         1532



         27th. Remote employees have been given until July 15th to report to the IMLS

         offices in D.C., an extension of the return to office notice originally issued on January

         30th. Following IMLS’s return to work notice, the American Federation of

         Government Employees—the IMLS bargaining unit employees’ representative—

         indicated that it will exercise its rights under a Memorandum of Understanding with

         the Agency to request a formal briefing and the opportunity to bargain over IMLS’s

         implementation of the Court’s Order. IMLS will engage in good faith during any

         negotiations with the intent of reaching a resolution with the union over the next few

         days. Unless a union employee decides on their own to report to work, union

         employees will remain on administrative leave during the negotiations. A pre-

         planned move to new office space has been put on hold, and IMLS will notify the

         General Services Administration that it will stay in its current space during the

         pendency of the injunction.

      b. MBDA has notified those employees who were placed on administrative leave of the

         Court’s Preliminary Injunction Order. On May 8, 2025, following the Court’s May 6,

         2025 opinion and order, the Department of Commerce sent a letter to employees who

         received a RIF notice on April 9, 2025, explaining that the effective date of the notice

         was being suspended and those employees would remain in paid, non-duty status

         until otherwise notified. On May 19, 2025, following the Court’s Preliminary

         Injunction Order, Commerce notified those employees that “effective immediately,”

         the agency was rescinding the April 9 RIF notices. Separately, on May 15, 2025,

         Commerce sent a letter to MBDA employees directing them to return to work and

         report for duty to the Herbert C. Hoover Building at 9:00 am on May 20, 2025.



                                               2
Case 1:25-cv-00128-JJM-AEM             Document 64       Filed 05/20/25      Page 3 of 5 PageID #:
                                             1533



            Employees were asked to bring with them valid photo identification to enter the

            building and informed of the process by which they would be re-issued their

            government personal identity verification (PIV) card and provided further instructions

            for their reinstatement to their position. As of May 20, 2025, 25 of the employees

            who had received RIF notices have indicated that they will return to MBDA; of those,

            19 have returned to the office, while six requested and received appropriate leave.

        c. FMCS has also notified those employees who were involuntarily terminated or placed

            on administrative leave of the Court’s Preliminary Injunction Order. Because FMCS

            employees are located across the country, the agency has initiated procurement efforts

            to obtain necessary equipment and credentials that will be shipped to employees

            located outside the D.C. region. Additionally, FMCS has been working with the

            Office of Personnel Management to execute remote work agreements to permit

            injunction compliance while the agency finalizes work arrangements. FMCS expects

            it will be able to fully reinstate involuntarily terminated employees within 30 days.

    3. As to grants and contracts, the Agency Defendants have been working to reinstate grants

and contracts to recipients in the Plaintiff States. ECF No. 60 ¶ 5. After conferring with

Plaintiffs in writing, Defendants confirmed their understanding that the Preliminary Injunction

Order only applies to recipients in Plaintiff States and not to grants or contracts pertaining to

recipients outside the Plaintiff States.

        a. IMLS administers eight categories of statutory grants. IMLS had fully restored the

            Grants to States program before the Court’s Preliminary Injunction Order, and the

            final FY25 allotments will be paid once IMLS receives its apportionment from the

            Office of Management and Budget. Regarding the seven other grant programs, IMLS



                                                  3
Case 1:25-cv-00128-JJM-AEM           Document 64        Filed 05/20/25       Page 4 of 5 PageID #:
                                           1534



           is diligently working toward reinstating 755 grants in the Plaintiff States. In addition,

           once the contracting officer—who was previously on administrative leave—returns to

           work on May 22nd, IMLS will begin the notifications and negotiations required to

           reinstate eight terminated contracts across six contractors in Plaintiff States.

       b. There were 52 MBDA grant recipients in Plaintiff States whose grants had been

           terminated. On May 19, 2025, Commerce sent notifications to all 52 recipients

           reinstating those grants. The agency also restored Automated Standard Application

           for Payments (ASAP) permissions to these grant recipients, and previously obligated

           funding that had not been drawn down was made available to them as of May 19,

           2025. Separately, on May 16, 2025, Commerce sent letters to all six MBDA

           contractors incorporated in Plaintiff States rescinding their contract terminations.

           Bilateral negotiations are underway to finalize contract modifications to resume work.

       c. FMCS does not administer grants or contracts.

   4. The steps identified in paragraphs 2 and 3 above constitute the “necessary steps to reverse

any policies, memoranda, directives, or actions issued before [the Preliminary Injunction] Order

that were designed or intended, in whole or in part, to implement, give effect to, comply with, or

carry out the directives contained in Executive Order 14238 with respect to IMLS, MBDA, or

FMCS,” ECF No. 60 ¶ 2.

   5. In sum, the Agency Defendants have taken significant steps to comply with each

provision of the Court’s Preliminary Injunction Order. As noted, reinstating employees and

grant programs presents administrative challenges beyond the Defendants’ control. The Agency

Defendants will continue to diligently discharge their preliminary injunction obligations.




                                                 4
Case 1:25-cv-00128-JJM-AEM   Document 64    Filed 05/20/25     Page 5 of 5 PageID #:
                                   1535



Dated: May 20, 2025                Respectfully submitted,

                                   YAAKOV M. ROTH
                                   Acting Assistant Attorney General

                                   ERIC J. HAMILTON
                                   Deputy Assistant Attorney General
                                   Civil Division, Federal Programs Branch

                                   JOSEPH E. BORSON
                                   Assistant Branch Director
                                   Federal Programs Branch

                                   /s/ Abigail Stout
                                   ABIGAIL STOUT
                                   (DC Bar No. 90009415)
                                   Counsel
                                   U.S. Department of Justice
                                   Civil Division
                                   950 Pennsylvania Avenue, NW
                                   Washington, DC 20530
                                   Telephone: (202) 514-2000
                                   Email: Abigail.Stout@usdoj.gov

                                   /s/_Heidy L. Gonzalez
                                   JULIA A. HEIMAN (D.C. Bar No. 986228)
                                   HEIDY L. GONZALEZ (FL Bar No. 1025003)
                                   Federal Programs Branch
                                   U.S. Department of Justice, Civil Division
                                   1100 L Street, N.W.
                                   Washington, DC 20005
                                   Tel. (202) 598-7409
                                   heidy.gonzalez@usdoj.gov

                                   Attorneys for Defendants




                                      5
